                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION


 INFERNAL TECHNOLOGY, LLC, and                    §
 TERMINAL REALITY, INC.,                          §
                                                  §
        Plaintiffs,                               §            Civil Action No. ______
                                                  §
 v.                                               §             Jury Trial Demanded
                                                  §
 EPIC GAMES INC.,                                 §
                                                  §
        Defendant.                                §


              PLAINTIFFS’ COMPLAINT FOR PATENT INFRINGEMENT


       Plaintiff Infernal Technology, LLC and Terminal Reality, Inc. file this Complaint against

Epic Games, Inc. and allege as follows.

                                           PARTIES

       1.      Plaintiff Infernal Technology, LLC (“Infernal Technology”) is a Texas Limited

Liability Company located at 18333 Preston Road, Suite 220, Dallas, Texas 75252.

       2.      Plaintiff Terminal Reality, Inc. (“Terminal Reality”) is a Texas Corporation with

its address at P.O. Box 271721, Flower Mound, Texas, 75027-1721. Terminal Reality, a video

game development and production company, was formed in 1994 in Lewisville, Texas. Terminal

Reality developed a number of video games, such as Nocturne, Bloodrayne, Ghostbusters: The

Video Game, Kinect Star Wars, The Walking Dead: Survival Instinct, and many others. Terminal

Reality also developed a video game graphics engine, called the “Infernal Engine,” used in many

of Terminal Reality’s games. In addition to using the “Infernal Engine” in its own games, Terminal



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Reality successfully licensed the “Infernal Engine” to other video game developers for use in their

video games.

       3.      On June 3, 2014, TRI entered into an exclusive license agreement with Infernal

entitled Exclusive License Agreement and Exclusive Right to Enforce pertaining to the

TRI Patents. On June 12, 2015, TRI and Infernal entered into another exclusive license agreement

also entitled Exclusive License Agreement and Exclusive Right to Enforce that replaced the prior

agreement (the “2015 Exclusive License Agreement”). Pursuant to the 2015 Exclusive License

Agreement, TRI, the owner of the TRI Patents, granted Infernal the exclusive right to enforce those

patents.

       4.      Defendant Epic Games Inc. (“Epic Games”) is a corporation organized and existing

under the laws of the State of Maryland, with its principal place of business located at

620 Crossroads Boulevard, Cary, North Carolina, 27518. Epic Games may be served with process

through its registered agent CT Corporation System, 160 Mine Lake Court, Suite 200, Raleigh,

North Carolina, 27518.

                                JURISDICTION AND VENUE

       5.      This is an action for patent infringement arising under the patent laws of the United

States of America, Title 35, United States Code. This Court has original jurisdiction over the

subject matter of this action pursuant to 28 U.S.C. §§ 1331 and 1338(a).

       6.      Epic Games is engaged in the business of developing, testing, publishing,

distributing, and selling video games. Many of these video games employ game “engines” which

are tools available for video game designers to code and plan out a game. Epic Games developed

and utilizes multiple iterations of the “Unreal Engine” to develop and run its portfolio of video

games which infringe one or more claims of the patents asserted in this complaint (“Accused Game


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Engines”). These Accused Game Engines include, but are not limited to all versions of Unreal

Engine 4 (e.g., Unreal Engine 4.1, 4.2, etc.). The Accused Game Engines are game engines that

are capable of performing deferred rendering, deferred shading and deferred lighting, used in video

games developed, published, distributed, and/or sold by Epic Games.

        7.      The video games developed, published, distributed, and sold by Epic Games that

use the Accused Game Engines include, but are not limited to Fortnite, Robo Recall and all other

games developed, published, distributed, and/or sold by Epic Games that use the Accused Game

Engines and are referred to herein as the “Accused Games.” Epic Games has developed, published,

distributed, used, offered for sale and sold the Accused Games in the United States, including

within this District.

        8.      The Accused Game Engines and Accused Games are collectively referred to herein

as the “Accused Instrumentalities.”

        9.      Epic Games is subject to this Court’s specific personal jurisdiction because it (a) is

a resident of the State of North Carolina; and (b) has designated an agent for service of process in

the State of North Carolina; and (c) has committed acts of infringement in the State of North

Carolina as alleged herein.

        10.     Venue is proper in this district under 28 U.S.C. §§ 1400(b). Epic Games has a

regular and established business under § 1400(b) because it has a regular and established place of

business located at 620 Crossroads Boulevard, Cary, North Carolina, 27518. Epic Games has

committed acts of infringement in this District by selling, offering to sell and using the Accused

Games in this District.




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                                    THE PATENTS-IN-SUIT

       11.      On March 26, 2002 the United States Patent and Trademark Office issued United

States Patent No. 6,362,822 (the “ʼ822 Patent”) entitled “Lighting and Shadowing Methods and

Arrangements for use in Computer Graphic Simulations,” a true copy of which is attached as

Exhibit 1.

       12.      On June 13, 2006, the United States Patent and Trademark Office issued United

States Patent No. 7,061,488 (the “ʼ488 Patent”) entitled “Lighting and Shadowing Methods and

Arrangements for use in Computer Graphic Simulations,” a true copy of which is attached as

Exhibit 2. The ʼ488 Patent is a continuation-in-part of the ʼ822 Patent. The ʼ822 and ʼ488 Patents

are collectively referred to as the “Asserted Patents.” The inventor of the inventions described and

claimed in the Asserted Patents is Mark Randel.

       13.      Infernal Technology is the exclusive licensee of the ʼ822 and ʼ488 Patents with the

exclusive right to sue for and recover all past, present and future damages for infringement of the

Asserted Patents.

       14.      The Asserted Patents are directed to methods and arrangements for use in rendering

lighting and shadows in computer graphic simulation. As the specification of the ʼ822 Patent

states, “[t]he present invention relates to computer graphics and, more particularly, to improved

methods and arrangements for use in rendering lighting and shadows in computer graphic

simulations, such as, for example, interactive computer graphics simulations of multi-dimensional

objects.” See Exhibit 1 at 1:6-11. At the time of the invention of the ʼ822 patent, computer

generated graphics were becoming popular due to increased processing capabilities of personal

computers. Id. at 1:14-24. In particular, virtual three-dimensional (3D) worlds were being created

for computer games that could be interactively explored by a user. These virtual 3D worlds consist


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of a plurality of 3D objects, which are typically modeled by one or more polygons. Id. at 1:25-38.

These objects are displayed to a user by projecting the objects onto a 2D frame as viewed from a

particular viewpoint. Id.

       15.     The goal of 3D graphics rendering is to provide “a realistic, interactive virtual 3D

world to the user.” Id. at 1:53-56. Because there is a limit to the amount of processing that a

computer can provide, there has always been a need for faster, more efficient and higher quality

means for producing the 3D to 2D renderings. Id. at 1:53-56. As the ʼ822 patent explains,

“simplifications or other compromises often need to be made in modeling a 3D world,” and “[o]ne

of the unfortunate compromises made in the past, has been in the area of lighting and, more

particularly, in the area of rendering shadows cast by lighted 3D objects.” Id. at 1:49-50, 57-59.

This is because “[m]any shadow rendering processes have been considered too compute intensive

for most lower-end computer applications.” Id. at 1:59-63. The Asserted Patents, therefore, sought

to provide improved shadow rendering methods and arrangements that would “support real time

interactive graphics on conventional PCs and the like, and allow for multiple light sources to be

modeled in a more efficient and realistic manner.” Id. at 2:66-3:3. This improved rendering is

accomplished by operating on rendered pixels in 2D space and using a separate buffer to

accumulate light falling on each pixel from multiple light sources.

       16.     Thus, the invention of the Asserted Patents provides improved methods and

arrangements for use in producing lighting and shadows that operate in the 2D domain, after the

three-dimensional scene has been rendered. The claimed methods and arrangements were not

well-understood, routine, and conventional activities commonly used in industry. The graphics

industry immediately recognized the groundbreaking innovations described in the ʼ822 Patent,

commenting on the lighting and shadows rendered by Mr. Randel’s Nocturne game using the


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patented invention: “[a]ll the hype surrounding the lighting in the game was for a really good

reason -- Nocturne pushes videogame lighting to new heights, with shadows that are so inventive

and interactive that you’ll swear you’re actually watching a film at times.”1

               THE ESTABLISHED VALIDITY OF THE PATENTS-IN-SUIT

         17.    On April 21, 2016, Electronic Arts Inc. (“EA”) petitioned the U.S. Patent Trial and

Appeal Board (“PTAB”) for inter partes review of the ’822 and ’488 Patents (IPR2016-00928,

IPR2016-00929, IPR2016-00930Z). In the IPR petitions, EA relied upon the following prior art

references: (1) Segal, et al., “Fast Shadows and Lighting Effects Using Texture Mapping,”

Computer Graphics Proceedings, Volume 26, Number 2, July, 1992 (“Segal”); and

(2) McReynolds, “Programming with OpenGL: Advanced Rendering,” SIGGRAPH ’96 Course,

August, 1996 (“McReynolds”). With respect to the ’822 Patent, EA asserted that Claims 1-10 and

39-48 were unpatentable under 35 U.S.C. § 103 in view of Segal, and that Claims 1-20 and 39-48

were unpatentable under 35 U.S.C. § 103 as obvious over the combination of Segal and

McReynolds. With respect to the ’488 Patent, EA argued that Claims 1-10, and 27-62 were

unpatentable under Section 103 in view of Segal and that Claims 1-20 and 27-36 were unpatentable

under Section 103 in view of Segal in combination with McReynolds.

         18.    On October 25, 2016, the PTAB instituted IPR proceedings as to all challenged

claims of the ’822 and ’488 Patents. In addition to the Segal and McReynolds references asserted

by EA in its petitions, the PTAB instituted IPR based on an additional prior art reference: James

D. Foley, et al., COMPUTER GRAPHICS, PRINCIPLES AND PRACTICE, 2d ed. (1997) (“Foley”). Oral

argument was heard by the PTAB on July 18, 2017. On October 19, 2017, and on October 23,

2017, the PTAB issued its Final Written Decisions in the IPR proceedings rejecting all of EA’s


1
    http://www.ign.com/articles/1999/11/23/nocturne.
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challenges to the patentability of all claims of the ’822 and ’488 Patents in view of Segal, alone or

in combination with McReynolds and/or Foley. Shortly thereafter, EA settled Plaintiffs’ patent

infringement claims and entered into a formal settlement agreement with Plaintiffs.

                     THE INFRINGING ACTIVITIES OF EPIC GAMES

       19.     Epic Games is engaged in the business of developing, testing, publishing,

distributing, and/or selling video games. Many of these video games employ game “engines,”

which are tools available for video game designers to code and plan out a game. Epic Games

utilizes various game engines to run numerous video games published by them which infringe one

or more claims of the patents asserted in this complaint. These game engines are capable of

performing deferred rendering, deferred shading, deferred lighting, physically based shading,

and/or physically based rendering used in video games developed, published, distributed, and/or

sold by Epic Games. Epic Games also is engaged in the business of selling developing, testing,

publishing, distributing video game engines through licensing exploits to third parties. The

infringing game engines are collectively referred to herein as the “Accused Game Engines.” The

infringing video games that use the Accused Game Engines are collectively referred to herein as

the “Accused Games.”

       20.     The Accused Game Engines and Accused Games that infringe the asserted patents

include, but are not limited to

      GAME                               ENGINE              DEVELOPER(S) PUBLISHER(S)
 1    Fortnite                           Unreal Engine 4     Epic Games   Epic Games
 2    Robo Recall                        Unreal Engine 4     Epic Games   Epic Games

 GAME ENGINE              DEVELOPER
 Unreal Engine 4 (and all Epic Games
 subversions thereof)




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              CLAIM 1 -- INFRINGEMENT OF U.S. PATENT NO. 6,362,822

       21.     Plaintiffs incorporate paragraphs 1 through 21 as though fully set forth herein.

       22.     Epic Games has directly infringed one or more of the method claims of the ‘822

Patent by using one or more of those patented methods in the United States. In particular, Epic has

been directly infringed one or more of the method claims of the ʼ822 Patent in the United States,

by using those methods through, among things, testing, displaying and demonstrating the Accused

Instrumentalities in violation of 35 U.S.C. § 271(a). The Accused Instrumentalities perform the

lighting and shadowing methods described and claimed in one or more of the method claims of

the ʼ822 Patent.

       23.     Each of the Accused Instrumentalities performs a rendering method, commonly

known as deferred rendering, which meets the limitations of the asserted claims of the ’822 Patent.

Deferred rendering (also sometimes referred to as deferred shading) is a process for rendering a

simulated, three-dimensional (3D) scene whereby the application of light to the scene is “deferred”

until after the surface properties for the objects in the scene have been rendered.

       24.     For example, but not as a limitation, Epic Games’ direct infringement of Claim 1

of the ʼ822 Patent with respect to Accused Games use of Unreal Engine is shown in the claim

charts provided in Exhibit 3.

       25.     As set forth in Exhibit 3, each of the Accused Instrumentalities performs a shadow

rendering method for use in a computer system.

       26.     As set forth in Exhibits 3 and 5, each of the Accused Instrumentalities provides

observer data of a simulated multi-dimensional scene.




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          27.   As set forth in Exhibit 3, each of the Accused Instrumentalities provides lighting

data associated with a plurality of simulated light sources arranged to illuminate the simulated

multi-dimensional scene, said lighting data including light image data.

          28.   As set forth in Exhibit 3, for each of the plurality of light sources, each of the

Accused Instrumentalities compares at least a portion of the observer data with at least a portion

of the lighting data to determine if a modeled point within the scene is illuminated by the light

source, and stores at least a portion of the light image data associated with the modeled point and

the light source in a light accumulation buffer.

          29.   As set forth in Exhibit 3, each of the Accused Instrumentalities combines at least a

portion of the light accumulation buffer with the observer data.

          30.   As set forth in Exhibit 3, each of the Accused Instrumentalities displays the

resulting image data to a computer screen.

          31.   Because      all   of   the   Accused      Instrumentalities   perform     deferred

rendering/shading/lighting, and/or physically based shading/rendering as exemplified in Exhibit 3,

any Accused Games employing any of the Accused Game Engines has infringed one or more of

the method claims of the ʼ822 Patent in a manner substantially the same as shown in the exemplary

claim charts of Exhibit 3.

          32.   The duty to mark under 35 U.S.C. § 287 is inapplicable to the asserted method

claims of the ’822 Patent.

          33.   Plaintiffs have been damaged by Epic Games’ activities of infringement of the ʼ822

Patent.




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       34.    Epic Games has had knowledge of the existence of the `822 Patent prior to the

expiration of the patent. Epic Games, with knowledge of the ʼ822 Patent, has been and is now

indirectly infringing one or more of the method claims of the ʼ822 Patent by inducing third-party

end users of the Accused Games and third-party developers using the Accused Games and Accused

Game Engines to develop video games to run the Accused Games or Accused Game Engines

which directly infringe one or more of the method claims of the ʼ822 Patent in violation of 35

U.S.C. § 271(b).

       35.    Upon information and belief, Epic Games has promoted use of the Accused

Instrumentalities by third-party end users of the Accused Games and third-party developers using

the Accused Instrumentalities, which perform one or more methods claimed in one or more of the

method claims of the ʼ822 Patent. Epic Games has promoted such use of the Accused

Instrumentalities with the knowledge that such use would result in performance of one or more

methods of one or more of the method claims of the ʼ822 Patent. Performance of the lighting and

shadowing methods claimed in one or more of the method claims of the ʼ822 Patent is an essential

part of the functionality of the Accused Instrumentalities. Upon information and belief, Epic

Games provides third-party end users with instructions regarding how to install and use the

Accused Games with the knowledge that doing so will result in performing one or more of the

methods claimed in the method claims of the ʼ822 Patent. Upon information and belief, Epic

Games works in conjunction with third-party developers to cause the third-party developers to run

the Accused Instrumentalities during their development of the Accused Games with the knowledge

that doing so will result in performing one or more of the methods claimed in the method claims

of the ʼ822 Patent. Upon information and belief, Epic Games has intended to induce third-party




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end users and video game developers to use the Accused Games or Accused Instrumentalities to

perform one or more of the methods claimed in the method claims of the ʼ822 Patent.

              CLAIM 2 – INFRINGEMENT OF U.S. PATENT NO. 7,061,488

       36.     Plaintiffs incorporate paragraphs 1 through 36 as though fully set forth herein.

       37.     Epic Games has directly infringed one or more claims of the ‘488 patent by using

the claimed inventions or making, importing, offering for sale, and/or selling video games

embodying the patented inventions.

       38.     Epic Games has directly infringed one or more of the method claims of the ‘488

Patent by using one or more of those patented methods in the United States. Epic Games has used

the lighting and shadowing methods claimed in the ‘488 Patent when end users of the Accused

Games activate and play those games. When an end user plays the Accused Games, the code

embedded in those games causes the devices on which they are played to perform the claimed

methods without any user modification or intervention, all in violation of 35 U.S.C. § 271(a).

       39.     Epic Games has also directly infringed one or more of the method claims of the

‘488 Patent by using those claimed methods during development, testing and demonstration of the

Accused Games, all in violation of 35 U.S.C. § 271(a).

       40.     For example, but not as a limitation, Epic Games’ direct infringement of Claim 1

of the ’488 Patent with respect to the Accused Games using the Unreal Engine is shown in the

claim charts of Exhibit 4.

       41.     As set forth in Exhibit 4, each of the Accused Instrumentalities performs a shadow

rendering method for use in a computer system.

       42.     As set forth in Exhibit 4, each of the Accused Instrumentalities provides observer

data of a simulated multi-dimensional scene.


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       43.     As set forth in Exhibit 4, each of the Instrumentalities provides lighting data

associated with a plurality of simulated light sources arranged to illuminate the simulated multi-

dimensional scene, said lighting data including light image data.

       44.     As set forth in Exhibit 4, for each of the plurality of light sources, each of the

Accused Instrumentalities compares at least a portion of the observer data with at least a portion

of the lighting data to determine if a modeled point within the scene is illuminated by the light

source, and stores at least a portion of the light image data associated with the modeled point and

the light source in a light accumulation buffer.

       45.     As set forth in Exhibit 4, each of the Accused Instrumentalities combines at least a

portion of the light accumulation buffer with the observer data.

       46.     As set forth in Exhibit 4, each of the Accused Instrumentalities outputs the resulting

image data.

       47.     Because all of the Accused Instrumentalities, upon information and belief, perform

deferred rendering/shading/lighting, and/or physically based shading/rendering as exemplified in

Exhibit 4, any Accused Games employing any of the Accused Game Engines infringed one or

more of the method claims of the ʼ488 Patent in a manner substantially the same as shown in the

exemplary claim charts in Exhibit 4.

       48.     Because all of the Accused Game Engines, upon information and belief, are capable

of performing deferred rendering/shading/lighting, and/or physically based shading/rendering as

described above with respect to the example Accused Game Engines, each of the Accused Engines

infringed in a manner similar to as shown in the exemplary claim charts in Exhibit 4.

       49.     Epic Games has had knowledge of the existence of the `488 Patent prior to the

expiration of the patent. Epic Games, with knowledge of the ʼ488 Patent, has been and is now


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indirectly infringing one or more of the method claims of the ʼ488 Patent by inducing third-party

end users of the Accused Games and third-party developers using the Accused Games and Accused

Game Engines to develop video games to run the Accused Games or Accused Game Engines

which directly infringe one or more of the method claims of the ʼ488 Patent in violation of

35 U.S.C. § 271(b).

       50.    Upon information and belief, Epic Games has promoted use of the Accused

Instrumentalities by third-party end users of the Accused Games and third-party developers using

the Accused Instrumentalities, which perform one or more methods claimed in one or more of the

method claims of the ʼ488 Patent. Epic Games has promoted such use of the Accused

Instrumentalities with the knowledge that such use would result in performance of one or more

methods of one or more of the method claims of the ʼ488 Patent. Performance of the lighting and

shadowing methods claimed in one or more of the method claims of the ʼ488 Patent is an essential

part of the functionality of the Accused Instrumentalities. Upon information and belief, Epic

Games provides third-party end users with instructions regarding how to install and use the

Accused Games with the knowledge that doing so will result in performing one or more of the

methods claimed in the method claims of the ʼ488 Patent. Upon information and belief, Epic

Games works in conjunction with third-party developers to cause the third-party developers to run

the Accused Instrumentalities during their development of the Accused Games with the knowledge

that doing so will result in performing one or more of the methods claimed in the method claims

of the ʼ488 Patent. Upon information and belief, Epic Games has intended to induce third-party

end users and video game developers to use the Accused Games or Accused Instrumentalities to

perform one or more of the methods claimed in the method claims of the ʼ488 Patent.

       51.    Plaintiffs have been damaged by Epic Games’ activities infringing the ʼ488 Patent.


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        52.      The duty to mark under 35 U.S.C. § 287 is inapplicable to asserted method claims

of the ’488 Patent, and Plaintiffs have otherwise complied with the marking requirement under 35

U.S.C. § 287, to the extent it is applicable.

             PLAINTIFFS’ NOTICE OF INFRINGEMENT TO EPIC GAMES, INC.

        53.      On February 27, 2019, Plaintiff’s counsel sent a letter to Epic Games’ CEO, Tim

Sweeney, information Epic Games about the Asserted Patents and providing Epic Games with

copies of the Patents-in-Suit. In the letter, Plaintiff’s counsel explained that the Patents-in-Suit

“describe implementing improved lighting and shadow rendering methods useful in supporting

real-time interactive graphics on conventional computers and gaming devise,” and that”[t]he

Patents cover certain video-game rendering engines that rendering the lighting and shadows using

a ‘deferred-rendering’ pipeline.” Plaintiffs’ counsel informed Epic Games that, based on an

analysis of the publicly available information on Unreal Engine 4, “Epic Games may require a

license to the Patents.” Epic Games did not respond to this letter.

                                  DEMAND FOR JURY TRIAL

        54.      Plaintiffs, under Rule 38 of the Federal Rules of Civil Procedure, request a trial by

jury of any issues so triable.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs request the following relief:

        1.       A judgment in favor of Plaintiffs that Epic Games has directly and indirectly

infringed, and/or has indirectly infringed by way of inducement, one or more claims of the

Asserted Patents;

        2.       A judgment and order requiring Epic Games to pay Plaintiffs damages adequate to

compensate for infringement under 35 U.S.C. § 284, which damages in no event shall be less than


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a reasonable royalty for the use made of the inventions of the Asserted Patents, including pre- and

post-judgment interest and costs, including expenses and disbursements; and

       3.       Any and all such further necessary relief as the Court may deem just and proper

under the circumstances.



 Dated: November 14, 2019                     Respectfully submitted,

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